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 8                                     UNITED STATES DISTRICT COURT
 9                                    SOUTHERN DISTRICT OF CALIFORNIA
10                                          September 2013 Grand Jury
11 UNITED STATES OF AMERICA,                             Case No.      15CR0174-W
12                             Plaintiff,                 I N D I C T MEN T
                                                              -(SupersedIng)
13               v.
                                                         Title 18, U.S.C., Sec. 922(g) (1)
14    MARCHELLO DSAUN MCCAIN,                            Felon in Possession of Firearms
                                                         and Ammunition; Title 18, U.S.C.,
15                             Defendant.                Sec. 931 - Possession of Body
16   ~------------------------------~----~
                                                         Armor by Violent Felon

17               The grand jury charges:
18                                                   Count 1

19               On or about September 9,            2014,     within the Southern District of
20    California,           defendant MARCHELLO DSAUN MCCAIN,             being a person who had
21    previously been convicted in a court, to wit, on or about on or about
22    May 31,          2005,   in the District Court for the Fourth Judicial District
23    of    the        State   of    Minnesota,     County     of   Hennepin,   of    two   counts   of
24    Assault          in   the     Second    Degree,    in   violation    of     Minnesota     Statute
25    §    609.222, a crime punishable by imprisonment for a term exceeding one
26    year   I       did knowingly and unlawfully possess firearms,                in and affecting
27    commerce,          to wit,     a Glock Model 17,         nine millimeter caliber pistol,
28    and        a    Mossberg      Model    500,   12   gauge      pump-action      shotgun,   serial

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 1 number T8 93 954 i         in     violation        of       Title     18,    United         States     Code,
 2 Section 922 (g) (1) .

 3                                                Count 2
 4          On   or   about        May   29,    2014,          within    the    Southern        District     of
 5   California, defendant MARCHELLO DSAUN MCCAIN,                             being a person who had
 6 previously been convicted in a court, to wit, on or about on or about
 7 May 31, 2005,         in the District Court for the Fourth Judicial District
 8 of      the   State   of    Minnesota,        County          of    Hennepin,     of    two    counts     of
 9 Assault       in   the     Second        Degree,     in      violation       of   Minnesota          Statute
10   §    609.222, a crime punishable by imprisonment for a term exceeding one
11 year, did knowingly and unlawfully possess firearms,                               in and affecting
12   commerce,     to wit,     a Glock Model 19,                 nine millimeter caliber pistol,
13   serial number RXU609 and a Mossberg Model 500,                              12 gauge pump-action
14   shotgun,      serial          number      T893954;          in     violation         of     Title      18,
15 United States Code, Section 922(g) (1).
16                                                Count 3
17          On or about February 13,              2014,          within the Southern District of
18   California, defendant MARCHELLO DSAUN MCCAIN,                             being a person who had
19 previously been convicted in a court, to wit, on or about on or about
20   May 31, 2005,       in the District Court for the Fourth JUdicial District
21 of      the   State   of    Minnesota,        County          of    Hennepin,     of    two    counts     of
22   Assault     in   the     Second        Degree,     in      violation       of   Minnesota          Statute
23   §    609.222, a crime punishable by imprisonment for a term exceeding one
24   year, did knowingly and unlawfully possess firearms and ammunition, in
25   and affecting commerce, to wit:
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27   //
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                                                           2
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 1           (1)    five      (5)     rounds     of    Winchester     12   gauge      2.75/1   7.5   shot
 2                  shotgun ammunition;

 3           (2)    a Mossberg Model 500,               12 gauge pump-action shotgun,             serial
 4                  number U645986; and
 5           (3)    an AR-15 style semi-automatic rifle;
 6   in violation of Title 18, United States Code, Section 922(g) (I).
 7                                                     Count 4
 8           On or about January 23,                  2015,    within the Southern District of
 9   California,        defendant MARCHELLO DSAUN MCCAIN,                  being a person who had
10 previously been convicted in a court, to wit, on or about on or about
11 May 31, 2005,           in the District Court for the Fourth Judicial District
12   of    the     State   of       Minnesota,        County   of   Hennepin,    of    two     counts   of
13   Assault       in   the     Second      Degree,      in    violation    of   Minnesota       Statute
14   §    609.222, a crime punishable by imprisonment for a term exceeding one
15   year, did knowingly and unlawfully possess firearms and ammunition, in
16   and affecting commerce, to wit:

17           (I)    a stolen Springfield Armory Model XD nine millimeter pistol,
18                  serial number US96206j

19           (2)    nine (9) rounds of Winchester nine millimeter ammunition;
20           (3)    one (1) round of Federal nine millimeter ammunitionj
21           (4)    five   (5) rounds of Winchester PDX1 Defender 12 gauge shotgun
22                  rounds;

23           (5)    fifteen         (15)   rounds of Winchester PDX1 Defender .38 Special
24                  hollow point ammunition; and

25           (6)    thirty-five (35) rounds of Century Arms 7.62 x 39 millimeter
26                  Hotshot ammunition;

27   in violation of Title 18, United States Code, Section 922(g) (1).
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1                                                    Count 5
2                 On or about January 23,                  2015,     within the Southern District
3 of California,            defendant MARCHELLO DSAUN MCCAIN,                         being a person who
4 had previously been convicted of a crime of violence and an offense
5 under        state     law      that     would    constitute         a   crime      of     violent    if    it
 6 occurred within the special maritime and territorial jurisdiction of
 7   the United States,             to wit,     on or about on or about May 31, 2005,                         in
 8   the District Court for the Fourth Judicial District of the State of
 9 Minnesota, County of Hennepin, of two counts of Assault in the Second
10 Degree,       in      violation         of      Minnesota         Statute     §    609.222,      a      crime
11 punishable          by     imprisonment          for   a     term       exceeding        one    year,     did
12 knowingly possess in and affecting commerce body armor, serial number
13   125375,     that       had    been     shipped       and    transported          in     interstate      and
14   foreign     commerce;          in    violation       of    Title      18,   United        States      Code,
15   Section 931.
16                                                   Count 6
17          On or about January 26,                  2015,      within the Southern District of
18   California, defendant MARCHELLO DSAUN MCCAIN,                             being a person who had
19 previously been convicted in a court, to wit, on or about on or about
20 May 31, 2005,            in the District Court for the Fourth Judicial District
21   of    the   State      of     Minnesota,       County      of    Hennepin,        of    two   counts     of
22 Assault       in     the       Second    Degree,       in    violation        of    Minnesota        Statute
23   §    609.222, a crime punishable by imprisonment for a term exceeding one
24   year, did knowingly and unlawfully possess firearms,                                   in and affecting
25   commerce, to wi t :

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27   II
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 1        (1)   a Glock Model 17 Gen4 nine millimeter pistol, serial number
 2              VEM605;

 3        (2)   a   Harrington   &    Richardson    1871   Pardner   pump       12-gauge
 4              shotgun, serial number NZ541169i and
 5        (3)   a M1 Carbine .30 caliber semi-automatic rifle, serial number
 6              3469868;
 7   in violation of Title 18, United States Code, Section 922(g) (1).
 8       DATED: February 20, 2015.

 9                                                 A TRUE BILL:
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12   LAURA E. DUFFY
13   United States Attorney



         SH
                     U.S. Attorney



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         Ass~st     t U.S. Attorney




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